                                                                                                                                                           1
                                                                        FORM 1                                                                  Page No:

                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                              ASSET CASES
Case No.:                    09-42409-SWR                                                     Trustee Name:                               GENE R. KOHUT, TRUSTEE
Case Name:                   MAG CONTECH, LLC                                                 Date Filed (f) or Converted (c):            07/13/2009 (c)
For the Period Ending:       10/28/2009                                                       §341(a) Meeting Date:                       08/13/2009
                                                                                              Claims Bar Date:

                         1                             2                     3                         4                         5                         6

                 Asset Description                  Petition/        Estimated Net Value            Property              Sales/Funds                 Asset Fully
                  (Scheduled and                  Unscheduled       (Value Determined by          Abandoned              Received by the           Administered (FA) /
             Unscheduled (u) Property)               Value                 Trustee,           OA =§ 554(a) abandon.          Estate                  Gross Value of
                                                                   Less Liens, Exemptions,    DA=§ 554(c) abandon.                                  Remaining Assets
                                                                      and Other Costs)

 Ref. #
1       ACE American Insurance                             $0.00                  Unknown                                               $0.00                  Unknown
        Policy Number:
        PGLN01943327
        Property Insurance
2       Federal Insurance Company                          $0.00                  Unknown                                               $0.00                  Unknown
        Policy: 35843693
        General Liability
3       Federal Insurance Company                          $0.00                  Unknown                                               $0.00                  Unknown
        Policy: 79843893
        Umbrella Coverage Insurance
4       Great Northern Insurance                           $0.00                  Unknown                                               $0.00                  Unknown
        Policy: 35826107
        Foreign Package
5       Twin City Insurance                                $0.00                  Unknown                                               $0.00                  Unknown
        Policy: 00 KB 0242366-08
        Executive Liability
6       Contech, LLC                             $13,859,140.00                   Unknown                                               $0.00                  Unknown
        950 Trade Center Way, Suite
        200
        Portage, MI 49002
        Ownership: 100%


TOTALS (Excluding unknown value)                                                                                                      Gross Value of Remaining Assets
                                                 $13,859,140.00                       $0.00                                             $0.00                     $0.00



     Major Activities affecting case closing:
                     JOINTLY ADMINISTERED WITH LEAD CASE NO. 09-42392-SWR. SEE ORDER GRANTING FIRST DAY MOTION OF THE
                     DEBTORS AND DEBTORS IN POSSESSION FOR AN ORDER DIRECTING THE JOINT ADMINISTRATION OF THEIR
                     CHAPTER 11 CASES OF 02/03/09 (DOCKET #174).


 Initial Projected Date Of Final Report (TFR):       10/31/2012                                                 /s/ GENE R. KOHUT, TRUSTEE
 Current Projected Date Of Final Report (TFR):       10/31/2012                                                 GENE R. KOHUT, TRUSTEE




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